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1                          UNITED STATES DISTRICT COURT
                         NORTH CAROLINA MIDDLE DISTRICT
2           _______________________________________________
3           MAXWELL KADEL, et al.,
4                                   Plaintiffs,
5                 vs.                   Case No. 1:19-cv-00272-LCB-LPA
6           DALE FOLWELL, et al.,
7                                   Defendants.
           _________________________________________________
8
                    THE DEPOSITION OF GEORGE R. BROWN, M.D.
9                                 September 23, 2021
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12                      **PORTIONS ATTORNEYS' EYES ONLY**
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18
19      Reported by:
20      PATRICIA A. NILSEN, RMR, CRR, CRC
        Licensed Court Reporter 717 for the State of
21      Tennessee
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23
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1             Foundation.     Object to the extent it's outside the

2             scope of Dr. Brown's opinions.

3             A.          So the short answer is no, but I also want

4             to point out that the presence of symptoms is --

5             also has to be considered at a particular -- in a

6             particular time frame.            So it's not just a simple

7             matter of, does the person experience gender

8             dysphoria if they have transgender identity.                    They

9             could have last year; they might have it next year;

10            they don't have it today.             It depends on where they

11            are in time, and a variety of other parameters

12            specific to the individual.

13                        But it is true that there are transgender

14            people who, sitting here today, if they were

15            sitting here today, do not have gender dysphoria

16            with little G, little D or big G, big D.

17            Q.          Are there studies that identify the

18            portion of -- the portion, prevalence, ratio of

19            gender dysphoria, the diagnosis in transgender

20            individuals?

21                                MR. TISHYEVICH:         Objection, to the

22            extent it's beyond the scope of Dr. Brown's

23            opinions.

24            A.          The answer to that is, no one knows the

25            answer to that.

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